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 6

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 8

 9                           IN THE UNITED STATES DISTRICT COURT FOR THE
10                                   EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                         )    Case No: CR S- 07-515 WBS
                                                       )
13                   Plaintiff,                        )    REQUEST FOR TRANSCIPRT OF
                                                       )    PROCEEDINGS; PROPOSED ORDER
14          vs.                                        )
                                                       )
15                                                     )    Date: N/A
     Jorge Chavez,                                     )    Time: N/A
16                                                     )    Courtroom: Honorable William B. Shubb
                                                       )
17                   Defendant.                        )
                                                       )
18                                                     )

19

20          Defendant Jorge Chavez by and through his undersigned counsel hereby requests a Reporter’s

21   Transcript of the Proceedings held in court on February 25, 2008.

22

23          Dated: January 4, 2010                         /s/ Patrick K. Hanly
                                                           PATRICK K. HANLY
24
            IT IS SO ORDERED. A copy of the transcript shall also be furnished to the United States
25
     Attorney.
26
            Dated: January 6, 2010
27

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                                        TRANSCRIPT REQUEST
